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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Demetrius Johnson
                                   Plaintiff,
v.                                                      Case No.: 1:20−cv−04156
                                                        Honorable Sara L. Ellis
Reynaldo Guevara, et al.
                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, February 9, 2024:


         MINUTE entry before the Honorable Sara L. Ellis: In court motion hearing held
on 2/7/2024 and continued to 2/29/2024 at 1:45 PM. The Court grants Defendant City of
Chicago's motion for extension of time [299]. Plaintiff should provide a response to
Defendant's draft motion by 2/14/2024. The parties should file their motion to resolve
factual disputes by 2/23/2024. The Court strikes the hearing date set for 2/14/2024 and
resets it to 2/29/2024 at 1:45 PM. The parties are ordered to appear in person in courtroom
1403. Mailed notice. (kp, )




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